                            UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK


EASTERN PROFIT CORPORATION LIMITED,

                       Plaintiff-Counterclaim Defendant,

       vs.                                                     Case No. 18-cv-2185 (JGK)

STRATEGIC VISION US, LLC,

                       Defendant-Counterclaim Plaintiff,

GUO WENGUI a/k/a MILES KWOK,

                       Counterclaim Defendant.


                              SECOND AMENDED COMPLAINT

       Plaintiff Eastern Profit Corporation Limited (“Eastern”) for its Second Amended Complaint

(the “complaint”) against defendant Strategic Vision US, LLC (“Strategic Vision”), alleges as

follows:

                                              PARTIES

           1.   Plaintiff Eastern is organized under the laws of Hong Kong and has a principal place

of business in Hong Kong.

           2.   Upon information and belief, Defendant Strategic Vision is incorporated under the

laws of Nevada, with its principal place of business in Arlington, Virginia.

                                 JURISDICTION AND VENUE

           3.   The Court has jurisdiction over the subject matter of this case pursuant to 28 U.S.C.

§ 1332 because the amount in controversy exceeds $75,000, exclusive of interest and costs, and the

controversy is between the citizen of a state and the citizen of a foreign state.




                                                   1
        4.      The Court has personal jurisdiction because the contract underlying this

complaint was negotiated in New York, Strategic Vision regularly sent communications

regarding the contract to Eastern in New York, and Strategic Vision delivered reports

pursuant to the contract to Eastern in New York.

        5.      Venue is proper in this district pursuant to 28 U.S.C. § 1391 in that a

substantial part of the events giving rise to the claim occurred in this district, including that

the contract was negotiated in this district, Strategic Vision regularly sent communications to

Eastern regarding the contract in this district, and Strategic Vision delivered reports to Eastern

pursuant to the contract in this district.

                                               FACTS

        6.      On January 6, 2018, Plaintiff Eastern and Defendant Strategic Vision entered

into a contract (the “Contract”), pursuant to which Strategic Vision promised that it would,

among other things, conduct “high quality original research” and would provide detailed

forensic financial reports, reports detailing tracking research, and reports detailing social media

research concerning specific subjects as described in the Contract (the “Reports”). A copy of

the Contract is annexed hereto as Exhibit A. The Contract provided that Strategic Vision was

to deliver Reports concerning the specific subjects on a weekly basis over the course of the

first month, and no less than on a monthly basis thereafter.

        7.      The Contract was executed in the State of Virginia on or about January 6, 2018.

        8.      The Contract was negotiated during several meetings between representatives of

Eastern and Strategic Vision in New York and Virginia, and Strategic Vision sent various

communications to Eastern's representatives in New York to finalize the terms of the Contract.

        9.      The CEO and sole member of Strategic Vision is French Wallop.

        10.     J. Michael Waller is a friend and business colleague of French Wallop.

                                                   2
          11.   Prior to entering into the Contract, Strategic Vision stated to Eastern several times

that it could “guarantee” that it had the resources, experience and capability to provide the type

of sophisticated research Eastern required.

          12.   Strategic Vision represented to Eastern that it had an in-house team of

investigators that was highly skilled and included former National Security Agency (NSA)

officers and other ex-intelligence officers ready to conduct the research Eastern needed during a

short timeframe.

          13.   In addition, because Strategic Vision knew that Eastern was particularly interested

in an agency that could conduct investigative research abroad, including in China, Strategic

Vision also represented to Eastern that its investigators could conduct investigative research all

over the world, including in Asia, without violating the laws of the country in which they were

operating.

          14.   Strategic Vision represented to Eastern that it had previously provided

investigative services for Republican politicians, a Middle Eastern prince, and a politician

belonging to the opposition party in Russia.

          15.   Strategic Vision further represented that its investigators were capable of

researching and collecting sophisticated financial tracking and asset tracing information. To

showcase its capabilities, Strategic Vision provided Eastern with a sample report, which appeared

to show that Strategic Vision could enter into banking systems and find evidence of money

laundering.

          16.   Eastern entered into the Contract in reliance on those representations by Strategic

Vision.

          17.   Upon the representations and promises made by Strategic Vision’s

representatives, Eastern also committed a substantial amount of resources in good faith and

                                                  3
paid Strategic Vision $1 million in advance as a deposit in connection with the Contract.

Strategic Vision represented, and the Contract provided, that Eastern’s $1 million deposit

would be used as a deposit against the last payments owed by Eastern during the final 1.3

months of the Contract.

       18.     However, immediately after the Contract was executed, it became clear that

Strategic Vision had misrepresented its capabilities, resources, expertise and prior experiences.

       19.     Because of what Strategic Vision described as an “internal miscommunication” on

the part of Strategic Vision’s representatives, the start of the Contract had to be delayed by 10

days, from January 6, 2018 to January 16, 2018.

       20.     Eastern agreed to the extension of time with the hope that things would move

smoothly going forward. That hope was short-lived. Even with this additional time, Strategic

Vision failed to deliver its initial sets of weekly reports on time as required by the clear terms of

the Contract. As an excuse for its non-performance, Strategic Vision claimed it had “mistakenly”

believed that the initial 90 days following the formation of the Contract would merely be for

“starting up and developing the data” even though such a professed belief was not consistent with

the plain terms of the Contract.

       21.     This delay was caused in part by the fact that Strategic Vision did not actually

have an in-house team of investigators ready to conduct the research Eastern needed at the time

that the parties entered into the Contract.

       22.     At the time the Contract was executed, Strategic Vision’s only investigator was

its CEO French Wallop – Strategic Vision had no employees.

       23.     In violation of the Contract’s terms and its express representations to Eastern,

Strategic Vision relied upon independent contractors to provide investigative research for it.



                                                  4
       24.     On or about January 30, 2018, Strategic Vision made its first delivery under the

Contract to a representative of Eastern in New York. The delivery consisted of a combination of

reports concerning particular subjects and raw research materials. But this “delivery” was wholly

inadequate under the Contract for a host of reasons.

       25.     First, the majority of the information provided by Strategic Vision was entirely

irrelevant. This is because even though Eastern had provided Strategic Vision specific

identifying information regarding the particular subjects of the research, most of Strategic

Vision’s reports and research materials concerned different subjects, not the particular ones

specified by Eastern. For example, even though Eastern provided detailed identifying

information concerning two particular subjects, including among other things, their date of birth

and their photographs, Strategic Vision provided lengthy reports - one of which was over 120

pages - on entirely different persons, with different dates of birth and different photographs.

       26.     Further, much of the data Strategic Vision provided consisted of publicly available

information, including information available on Wikipedia and media sites, which could have been

easily retrievable by Eastern itself. In addition, the data included neither forensic financial

information, nor detailed tracking research, which were explicitly required under the Contract.

       27.     Following that delivery, Strategic Vision then continued to fail to deliver the

Reports required by the Contract and to meet the clear schedule set forth therein.

       28.     On February 23, 2018, Eastern sent a letter to Strategic Vision terminating the

Contract on the basis of Strategic Vision's breach, and demanding a return of its $1 million deposit.

       29.     Strategic Vision has still to date failed to return the deposit to Eastern.




                                                 5
                                             COUNT I

                                   BREACH OF CONTRACT

      30.       Plaintiff re-alleges and incorporates the allegations set forth in the foregoing

      paragraphs of the complaint.

          31.   The Contract is a valid and enforceable Contract between Eastern and Strategic

Vision.

          32.   By Strategic Vision’s actions and inactions described above, including, without

limitation, by failing to provide high quality original research, failing to deliver the Reports

concerning the subjects specified by Eastern and failing to meet the schedule set forth under the

Contract, Strategic Vision has breached the Contract.

          33.   As a result of Strategic Vision's breach, Eastern has suffered substantial damages.

                                                COUNT II

                               FRAUDULENT MISREPRESENTATION

          34.   Plaintiff re-alleges and incorporates the allegations set forth in the foregoing

paragraphs of the complaint.

          35.   Prior to entering into the Contract, representatives for Strategic Vision made the

following representations to Eastern:

   a. That Strategic Vision had a highly skilled in-house team of investigators ready to conduct

      the detailed research Eastern required during a short time-frame;

   b. That its in-house team of investigators included former intelligence officers that were

      capable of conducting sophisticated financial tracking and asset tracing all over the world,

      including in China without violating the laws of the countries in which they were

      operating; and



                                                 6
   c. That it had represented other sophisticated clients in the past, including Republican

       politicians, a Middle Eastern prince, and a leader of the Russian opposition party;

       36.     Specifically, in middle to late December of 2017, Strategic Vision (through

French Wallop and J. Michael Waller) verbally told representatives of Eastern (including

Yvette Wang) in person that Strategic Vision had a highly skilled team of in-house

investigators ready to conduct detailed research in a short period of time. Strategic Vision

made these representations repeatedly at in person meetings which occurred at Guo Wengui’s

apartment at the Sherry-Netherland at 781 5th Ave, New York, NY 10022 and at French

Wallop’s home in Arlington, Virginia. In making these representations, Strategic Vision

often described its supposedly highly skilled team of in-house investigators as “our people.”

       37.     Specifically, in middle to late December of 2017, Strategic Vision (through

French Wallop and J. Michael Waller) verbally told representatives of Eastern (including

Yvette Wang) in person that Strategic Vision employed former intelligence officers to

conduct investigatory research. Strategic Vision made these representations repeatedly at

meetings which occurred at Guo Wengui’s apartment at the Sherry-Netherland at 781 5th

Ave, New York, NY 10022 and at French Wallop’s home in Arlington, Virginia.

       38.     Specifically, in middle to late December of 2017, Strategic Vision (through

French Wallop and J. Michael Waller) verbally told representatives of Eastern (including

Yvette Wang) in person that Strategic Vision could access financial records of a specific

financial institution based in China to obtain financial information about individual research

targets. Strategic Vision made this representation at a meeting which occurred at Guo

Wengui’s apartment at the Sherry-Netherland at 781 5th Ave, New York, NY 10022.

       39.     Specifically, in late November or December of 2017, Strategic Vision

(through French Wallop) verbally told representatives of Eastern (including Guo Wengui) in

                                                 7
person that Strategic Vision had provided investigatory research to a Russian opposition

leader, royal families from countries in the Middle East, government officials from the

Middle East, and Republican politicians. At that meeting, which occurred in Guo Wengui’s

apartment at the Sherry-Netherland at 781 5th Ave, New York, NY 10022, French Wallop

hand wrote a list of eight individuals from the Middle East on a piece of paper, and verbally

stated that the individuals listed on the piece of paper were clients of Strategic Vision which

Strategic Vision had provided with investigatory research services.

        40.     The representations described in paragraphs 35-39 above misrepresented

Strategic Vision’s capabilities, expertise and resources to Eastern.

        41.     In reality, Strategic Vision had no in-house investigators (other than its CEO

French Wallop), did not employ any former intelligence officers, could not conduct

sophisticated financial tracking at a high level in a short period of time, and had not provided

investigatory research to the client list it had provided to Eastern.

        42.     Strategic Vision also told Eastern that Eastern’s $1 million deposit would be used

as a deposit against the last payments owed by Eastern at the end of the Contract. Strategic Vision

also knew this statement to be false.

        43.     Strategic Vision made the above-mentioned misrepresentations to lure Eastern into

entering into the Contract and into paying Strategic Vision the $1 million deposit.

        44.     Eastern justifiably, reasonably and detrimentally relied on these representations by

Strategic Vision in entering into the Contract because representatives of Strategic Vision (French

Wallop and J. Michael Waller) held themselves out to be experts in the provision of investigative

services.

        45.     As a result of Strategic Vision's misrepresentations, Eastern has suffered substantial

damages in an amount to be determined at trial. Among other things, Eastern has lost three months

                                                    8
of time that it could have spent working with another investigative company, and Eastern will now

need to find another investigation company to carry out the work- it had contracted Strategic Vision

to complete.

                                            COUNT III

 DECLARATORY JUDGMENT THAT THE CONTRACT IS ILLEGAL AND VOID AS
                   AGAINST PUBLIC POLICY

        46.     Plaintiff re-alleges and incorporates the allegations set forth in the foregoing

paragraphs of the complaint.

        47.     Strategic Vision provides private investigatory research to clients within the

United States in exchange for monetary compensation.

        48.     As part of its investigations, Strategic Vision makes investigations into crimes

and civil wrongs; the location, disposition, and recovery of stolen property; and the cause(s)

of injuries to persons or to property.

        49.     As part of its investigations, Strategic Vision makes investigations into the

identities, habits, conduct, business, occupation, honesty, integrity, credibility, knowledge,

trustworthiness, efficiency, loyalty, activity, movement, whereabouts, affiliations,

associations, transactions, acts, reputation and character of individuals.

        50.     As part of Strategic Vision’s investigations, Strategic Vision’s CEO French

Wallop communicates with her network of contacts within the United States government and

the United States business community in order to obtain the information concerning the

subjects of Strategic Vision’s investigations.

        51.     Since it was founded, Strategic Vision has conducted at least five private

investigations for its clients.

        52.     Prior to the execution of the Contract, Strategic Vision represented to Eastern

that Strategic Vision could conduct a private investigation into up to 10 individuals at a time.
                                                  9
       53.     Prior to the execution of the Contract, Strategic Vision represented to Eastern

that Strategic Vision could monitor the activities of those 10 individuals to understand their

habits, patterns, personal and professional networks, businesses, and if they were corrupt and

engaging in criminal activities and/or civil wrongs.

       54.     Prior to the execution of the Contract, Strategic Vision represented to Eastern

that Strategic Vision could use such monitoring abilities to protect people from harm and in

connection with asset recovery efforts.

       55.     Prior to the execution of the Contract, Strategic Vision presented Eastern with

a free private investigative research report on an individual identified by Eastern in order to

demonstrate Strategic Vision’s investigative abilities.

       56.     The Contract is a contract whereby Strategic Vision agreed to perform a

private investigation into individuals identified by Eastern.

       57.     The stated purpose of the Contract was to detect, stop, and prevent crime or

other harm to innocent people.

       58.     In the Contract, Strategic Vision agreed that it would provide Eastern with

financial forensic historical research on up to 15 individuals during the first month of the

Contract, and financial forensic historical research on up to 10 individuals during the

remaining months of the Contract.

       59.     Financial forensic historical research was to consist of in depth and detailed

reports concerning the historical business and financial transactions of the individuals to be

researched to, among other things, determine the location of stolen funds, detect crimes and

government corruption.




                                                 10
        60.     In the Contract, Strategic Vision agreed that it would provide Eastern with

current tracking research on up to 15 individuals during the first month of the Contract, and

current tracking research on up to 10 individuals during the remaining months of the Contract.

        61.     Current tracking research was to consist of in depth and detailed reports

concerning the on the movements, schedules, addresses and lodging, means of transportation,

names of carriers, manifests, geolocation, major events, significant contacts, and video and

audio recordings of the individuals to be researched.

        62.     In the Contract, Strategic Vision agreed that it would provide Eastern with

social media research on up to 15 individuals during the first month of the Contract, and

social media research on up to 10 individuals during the remaining months of the Contract.

        63.     Social media research was to consist of in depth and detailed reports

concerning the social media usage and networks of the individuals to be researched and also

included research on court records, crimes, civil wrongs, criminal databases, sex offender and

child abuse databases, information on the individuals’ family and relationships, identification

documents, as well as other video and audio recordings of the individuals to be researched.

        64.     The Contract provides that Strategic Vision alone will perform the research

described in the Contract, and that Strategic Vision would not disclose the Contract or any of

the research relating to it, to any third party.

        65.     After the Agreement was executed, Eastern provided Strategic Vision with the

names of the 15 individuals to be researched during the first month of the Contract, along

with relevant information concerning those 15 individuals (the “Subject List”).

        66.     Several of the 15 individuals identified in the Subject List were located within

the United States.



                                                   11
       67.      After receipt of the Subject List, Strategic Vision’s divided its investigation

into the 15 individuals identified therein into two portions.

       68.      French Wallop, out of her home located in Arlington, Virginia, handled the

United States based portion of the investigation into the 15 individuals identified in the

Subject List.

       69.      J. Michael Waller handled the non-United States based portion of the

investigation into the 15 individuals identified in the Subject List.

       70.      Upon receipt of the Subject List, Strategic Vision began verifying and cross

checking the information provided in the Subject List.

       71.      After receiving the Subject List, French Wallop (on behalf of Strategic Vision)

began communicating with numerous individuals in her contact network to verify and cross

check the information provided in the Subject List. Some of these communications occurred

in Virginia and Washington, D.C.

       72.      After receiving the Subject List, French Wallop (on behalf of Strategic Vision)

had in person meetings with, and made phone calls to, persons in Virginia and Washington

D.C., to verify and cross check the information provided in the Subject List.

       73.      After receiving the Subject List, French Wallop (on behalf of Strategic Vision)

communicated her contacts within the Central Intelligence Agency and the U.S. State

Department to obtain information about the 15 individuals identified in the Subject List.

Some of these communications occurred in Virginia and Washington, D.C.

       74.      After receiving the Subject List, French Wallop (on behalf of Strategic Vision)

began communicating with numerous individuals in her contact network to collect and gather

identifying and detailed information concerning the 15 individuals identified in the Subject

List. Some of these communications occurred in Virginia and Washington, D.C.

                                                  12
        75.    After receiving the Subject List, French Wallop (on behalf of Strategic

Vision), obtained identifying and detailed information from her contact network concerning

the 15 individuals identified in the Subject List. Some of such identifying and detailed

information was obtained from sources located in Virginia and Washington, D.C.

        76.    After receiving the Subject List, Strategic Vision began verifying and cross

checking the information provided in the Subject List by accessing records in the United

States, including background checks, credit reports, state department records, and social

security administration records, among other records.

        77.    Strategic Vision’s investigation process allowed Strategic Vision to determine

that some of the information in the Subject List was incorrect or inaccurate, but that some of

the information in the Subject List was actually correct or accurate.

        78.    Strategic Vision’s investigation process uncovered information about the

familial and business relationships of at least one individual identified in the Subject List.

        79.    Strategic Vision’s investigation process uncovered information about the

address history of at least one of the individuals identified in the Subject List.

        80.    Strategic Vision’s investigation process uncovered information about the

nicknames or aliases of at least one of the individuals identified in the Subject List.

        81.    Strategic Vision’s investigation process uncovered information about how at

least one of the individuals identified in the Subject List had kept changing his/her name(s).

        82.    Strategic Vision’s investigation process uncovered information about the

location of businesses managed by at least one of the individuals identified in the Subject

List.




                                                  13
       83.     After the Contract was executed, French Wallop and J. Michael Waller began

meeting in person on a frequent basis in Virginia to discuss the progress of the investigation

contemplated by the Contract and to coordinate Strategic Vision’s investigatory efforts.

       84.     At those in person meetings in Virginia, French Wallop and J. Michael Waller

discussed strategies to uncover information about the individuals on the Subject List and

exchanged information to verify the identities of the individuals on the Subject List.

       85.     Upon information and belief, French Wallop and J. Michael Waller met in

person on a frequent basis in Virginia at least five separate times to discuss the progress of

the investigation contemplated by the Contract and to coordinate Strategic Vision’s

investigatory efforts.

       86.     After receipt of the Subject List, Strategic Vision also hired independent

contractors within the United States and outside the United States to perform private

investigatory research into the 15 individuals identified in the Subject List.

       87.     Those independent contractors gave the results of their private investigations

to Strategic Vision.

       88.     Strategic Vision was not a licensed private investigator under the laws of the state

of Nevada between January 1, 2017 and December 31, 2018.

       89.     Strategic Vision was not a licensed private investigator under the laws of the

Commonwealth of Virginia between January 1, 2017 and December 31, 2018.

       90.     Strategic Vision was not a licensed private investigator under the laws of the state

of New York between January 1, 2017 and December 31, 2018.

       91.     Strategic Vision was not a licensed private detective under the laws of the District

of Columbia between January 1, 2017 and December 31, 2018.



                                                 14
        92.    Strategic Vision was not a licensed private investigator or detective under the

laws of any state or jurisdiction within the United States between January 1, 2017 and December

31, 2018.

        93.    French Wallop was not a licensed private investigator under the laws of the state of

Nevada between January 1, 2017 and December 31, 2018.

        94.    French Wallop was not a licensed private investigator under the laws of the

Commonwealth of Virginia between January 1, 2017 and December 31, 2018.

        95.    French Wallop was not a licensed private investigator under the laws of the state of

New York between January 1, 2017 and December 31, 2018.

        96.    French Wallop was not a licensed private detective under the laws of the District of

Columbia between January 1, 2017 and December 31, 2018.

        97.    French Wallop was not a licensed private investigator or detective under the laws

of any state or jurisdiction within the United States between January 1, 2017 and December 31,

2018.

        98.    J. Michael Waller was not a licensed private investigator under the laws of the state

of Nevada between January 1, 2017 and December 31, 2018.

        99.    J. Michael Waller was not a licensed private investigator under the laws of the

Commonwealth of Virginia between January 1, 2017 and December 31, 2018.

        100.   J. Michael Waller was not a licensed private investigator under the laws of the state

of New York between January 1, 2017 and December 31, 2018.

        101.   J. Michael Waller was not a licensed private detective under the laws of the District

of Columbia between January 1, 2017 and December 31, 2018.




                                                15
        102.    J. Michael Waller was not a licensed private investigator or detective under the

laws of any state or jurisdiction within the United States between January 1, 2017 and December

31, 2018.

        103.    The Contract is illegal and void as against public policy because Strategic

Vision agreed to make investigations to obtain information on crimes and civil wrongs, the

location of stolen property, and injuries to persons, without a private investigator’s license

under the laws of the Commonwealth of Virginia or any other state or jurisdiction.

        104.     The Contract is illegal and void as against public policy because Strategic

Vision made investigations to obtain information on crimes and civil wrongs, the location of

stolen property, and injuries to persons, without a private investigator’s license under the laws

of the Commonwealth of Virginia or any other state or jurisdiction.

        105.    The Contract is illegal and void as against public policy because Strategic

Vision agreed (in the Contract) to make investigations into the identities, habits, conduct,

business, occupation, honesty, integrity, credibility, knowledge, trustworthiness, efficiency,

loyalty, activity, movement, whereabouts, affiliations, associations, transactions, acts,

reputation and character of individuals without a private investigator’s (or detective’s) license

under the laws of Nevada, New York, Washington D.C., or any other state or jurisdiction.

        106.    The Contract is illegal and void as against public policy because Strategic

Vision actually made investigations into the identities, habits, conduct, business, occupation,

honesty, integrity, credibility, knowledge, trustworthiness, efficiency, loyalty, activity,

movement, whereabouts, affiliations, associations, transactions, acts, reputation and

character of individuals in the Subject List without a private investigator’s (or detective’s)

license under the laws of Nevada, New York, Washington D.C., or any other state or

jurisdiction.

                                                  16
       107.      Eastern seeks declaratory judgment that the Contract between the parties is illegal

and void as against public policy.

                                          COUNT IV
                                     UNJUST ENRICHMENT

       108.      Plaintiff re-alleges and incorporates the allegations set forth in the foregoing

paragraphs of the complaint, with the exception of Paragraph 31.

       109.      Eastern has conferred a benefit upon Strategic Vision – the $1,000,000 deposit

payment.

       110.      Strategic Vision accepted and retained the $1,000,000.

       111.      Because the Contract is illegal and void as a matter of public policy, Strategic

Vision’s retention of the $1,000,000 is inequitable.

       112.      Strategic Vision has been unjustly enriched at the expense of Eastern.

       113.      Eastern is entitled to damages as a result of Strategic Vision’s unjust enrichment,

including the disgorgement of all monies unlawfully accepted by Strategic Vision from Eastern.

                                     REQUEST FOR RELIEF

        Wherefore, Plaintiff requests the following relief:

        A. That Defendant Strategic Vision be held liable for the damages sustained by Plaintiff

              Eastern as a result of the claims asserted herein and the costs of this suit, including

              reasonable attorneys' fees in an amount to be determined at trial;

        B. That the Contract be declared illegal and void;

        C. Plaintiff demands monetary damages against Defendant for unjust enrichment; and;

        D. Such other relief as the Court deems necessary and proper.




                                                  17
PLAINTIFFS DEMAND A TRIAL BY JURY ON ALL CLAIMS SO TRIABLE.

                               EASTERN PROFIT CORPORATION LIMITED,
                               By its attorneys,

                                     ZEICHNER ELLMAN & KRAUSE LLP

                                     /s/ Zachary Grendi
                                     Zachary Grendi, Esq.
                                     1211 Ave of the Americas
                                     New York, NY 10036
                                     Phone: (212) 223-0400
                                     Fax: (212) 753-0396
                                     Email: zgrendi@zeklaw.com




                                18
